             Case 3:04-cv-02077-FJM Document 55 Filed 02/09/06 Page 1 of 3




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 8
                           IN THE UNITED STATES DISTRICT COURT
 9
                               IN AND FOR THE DISTRICT OF ARIZONA
10
11   DENVER PULLIN and PATSY PULLIN, a married )
     couple,                                          )      No. CV 04 2077 PCT FJM
12                                                    )
13                 Plaintiffs,                        )      PLAINTIFFS’ RESPONSE OF NO
            vs.                                       )      OPPOSITION TO DEFENDANT
14                                                    )      FORD MOTOR COMPANY’S
15   BRIDGSTONE/FIRESTONE                    NORTH )         MOTION FOR SUMMARY
     AMERICAN TIRE, L.L.C., a Delaware Limited )             JUDGMENT
16   Liability Corporation doing business in Arizona; )
17   FORD MOTOR COMPANY, INC., a Delaware )
     Corporation     doing     business   in Arizona; )
18   CHAPARRAL FORD, INC., a Texas Corporation; )
19   ALAMO HAT COMPANY, INC. a Texas )
     corporation; MARIA TRAYLOR and JOHN DOE )
20   TRAYLOR, a married couple, JOHN DOES I )
21   through X and JANE DOES I through X, their )
     respective spouses; BLACK CORPORATIONS I )
22   through V and WHITE PARTNERSHIPS I through )
     V,                                               )
23
                                                      )
24                 Defendants.                        )
25
           Plaintiffs through counsel undersigned, file their Response of no opposition regarding Ford
26
     Motor Company’s Motion for Summary Judgment. Plaintiffs do not oppose entry of Judgment on
27
28   all claims against Ford Motor Company only.

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 1         THIS RESPONSE DATED this 9th day of February, 2006.
 2
                                             JAMES F. BROOK AND ASSOCIATES
 3
 4
                                             By: /s/ John N. Vingelli
 5                                                 James F. Brook
                                                   John N. Vingelli
 6
                                                   Attorneys for Plaintiffs
 7
 8   The foregoing e-filed and mailed this
 9   9th day of February, 2006, with:
10   Clerk of the Court
11   Sandra Day O’Connor U.S. Courthouse
     401 West Washington Street
12   Phoenix, Arizona 85003
13
     COPY of the foregoing hand-delivered
14   this 9th day of February, 2006, to:
15
     The Honorable Frederick J. Martone
16   Judge of the U.S. District Court
17   401 West Washington
     Phoenix, Arizona 85003
18
19   Wendi Sorensen, Esq.
     SKYPECK & SORENSEN
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22   and Alamo Hat Company
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     Barry C. Toone
24   Janell M. Adams
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     Attorneys for Defendant Ford Motor Company
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 5
     /s/Wanda B. Jack
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